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IN THE CHANCERY COURT FOR HAL'VULTON COUNTY, TENN_ESSEE
/'00° ~‘Oa -' /J@ @¢@
Docket No. D% v BL{A j

INDUSTRIAL BO{LER & MECHANICAL
CO., INC.

Fla in tii`i",
\¢'.
BR.IDGEFIELD cAsUALTY INSURANCE

COMPANY, SUMMIT CONSUI_TING, INC.

)
)
)
3
)
)
) PART
§
and BROCK INSU?RANCE AGENCY, INC. )
)
)

Defendams.

 

COM`.PLAINT

 

COMES the Plamtiff`, mdustrial Boiler & Mechmical Co.l lnc., and files this Complaint
agaith defendants and states as follows:

M.E_T_I_E§

1. Indusm`al Boiler & Mochamcal Co., Jnc. (“mdus!rial Boiler") is a valid 'J.'ennessee
corporation with its principle place of business located at 3325 N. Hawthome 51:':@'¢_, I-Iamilton
Coumjr, C`hattanooga, Tenoessae_

2. Bridge£ield Casualty insurance Company ("Bridge§eld Insumnce“) is a Florida
corporation with its principle place of business located in Lai<elfmd, Florida. Bridgefield
Casualty lnsuranoe Company is properly licensed and registered to do business in the State of
'l`ennessee With license #92035 issued by the Tennessee Do:panmom of Commerce and
Insurance. Bridgef'leld Casualty Insu:zmce Company may be served process through the

Tamlessoe Depamnem of Commcrcc and Insuraz\ ce.

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3.. Summit Consulting, lnc. is s l~`lon'da corporation with irs principle place ot`
business in LalcelancL Fiorida_ Su.mmit Cons'd§ting, l`.nc, may ‘oc served procch through its
registered agent, Cor;:orstion, Servicc Company, 2908 Poston Avenuc, Nashvillc, TN 37203.

4. Br'ocl< Insuronce Agency, inc. [“Brock lnsurancc”) is a Gcorgia corporation Witli
its principle place of business located at 823 Chiclcar:iouga Ave., Rossville, Gcorgia. Broclc
lnsurnncc Agcncy, inc is licensed to do business in the Statc ot"'l`ennessce. Broclc lnsurancc
nAgenoy, lnc. may be served process through its registered agent; Dana Davis, at 38 Hidden
Broolc Laue, Signal lvlountsin: Term-sssce 373??.

IURISDICTION and VENUE--

5. 'I`his Court has jurisdiction over this cause of actions for negligence and negligent
procurement dnc to ali relevant actions by defendants having occurred in I-Iamilton County,
'i`enriessoe

6. This Court has jurisdiction over this breach of contract ciaim due all parties
having entered into t'nc contracts in l.-lnmilton County, Tem'iessce_

7. This Cour_'t has jurisdiction over the declaratory judgment notion pursuant to
T.C.A. §29-14~10], etseq_

B. This Court has proper venue for these claims i.n that all actions by the parties
occurred in I-lamilton Couuty, Tcnnessce.

FACTUAL ALL.EGATIONS _

9. lndustrial Boiler & Mcchanical Co., lnc_ (“lndustrial Boilor”) has been in the

business of manufacturing installingc maintaining and servicing boilers since 1990.

n lG. Industrial Boiler has approximately 50 to 60 employees at any given time.

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l l. industrial Boiler's employees live end work throughout East Tcnnessee and bloth

Georgia.

12. Brocl< lnsu.rance acted as an agent for and on behalf of lndustrial Boiler to procure
Worl<ers compensation insurance for industrial Boilcr’s employees in both 'l`ennessee and
Geor'gia.

ll Broclt hisurance had detailed loiowledge ol' Indnsrrial Boiler‘s workforce and
lmew that industrial Boiler had employees that worked in the state of Georgia,

14. On or about iannary 5, 2006, lndustrial Boiler t':led a milton application for
workers compensation insurance through lndnstrial Boilcr’s agan Brocl< insurance

l5. lndustrial Boiicr specifically and orally directed Broclc Insnrance to procure a
workers compensation policy that covered employees in both Tennessee and Gcorgia.

16. Attoched as Exhibit A to this Complaint is a true and correct copy of thc
application filed by Industrial Boiler with Brock insurance

17. The application for workers compensation insurance filed try lndustriai Boilcr on

or about lantu 5, 2006, clearly directed both Bridgel'icld lnsurancc and Brocl< lnsurance to Wé

provide workers compensation coverage in both 'l`ennessee and Georgia. lr\;de~'m
IB. Based upon and in response to the application for workers compensation `M §§

insurance filed by lnrlustrial Boiler, defendant Broclc Insurance procured a workers CM\ WA\ "m»:

compensation insurance policy for policy period 4/lf06 to 431/07 with defendant Bridget'ield

lnsmance.
19. lt has been alleged by Bridgefield insurance that the policy attained by Brocl<
lnsurance for In dnsn'ial Boiler failed to provide Worlcers compensation coverage for employees

Workil”ig in the State of Georgia_

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20\ Bridgef`reld Insuraoce has now alleged mar the policy issued by Bridgefield
lnsuranee failed to provide workers compensation coverage for employees working in the S‘rate
of Creorgia.

2l1 On or about April 25, 2001 Briclgef'reld insurance hired Sunnnit Consulting, lnc.
to perform an audit of lndustrial Boiler`s payroll, employee classification and employee location
in order to adjust the insurance premium charged by Bridgetield Insurance to Industrial Boiler.

22- Bridgeield lnsurance’s audit report (produced by Sumrnit`Corrsulting,, Inc.)

described Industrial Boiler’s operations ss follows:

“INS URE`D .DOES BOII.»ER SERVICIN'G AND REPAIR FOR
l\fIAD\lLY THJ€ CARPET DJ'DUSTRY THE BOILERS
PRODUCE STEAM POR GENER_ATE ELECTRICITY AND
TH_E H\JSUR.ED REPAIRS RETUBD~!G, VALVES, REPLACE
PIPING - BY FEET, SERVICE ’l`I-IE CON'I'ROLS TO
EVALUA'I`E MIX'I'URE OP CI_-IEMICALS C)F
COBFOXYGEN. . ,“

23. Bridger`reld Insuranoe and their auditor, Summit Consolting, Inc., l:new or should
have known that the “CARPET lNDUSTRY” and other customers which I`ndustrial Boiler

serviced are located throughout the stale of Georgia_
24. Bridgefreld insurance and their auditor, Summit Consulting, l.nc., listed in the
audit report dated April 25, ZUG`/'l all employees covered under the workers compensation policy

J
including but not limited to, Marc Beol<. 0\4~\\\/
25. Bridgelield lnsurance and their auditorl Surnrnit Consulting, Inc-., knew or should MM

have known through their audit and knowledge of plai:ni)f`f1 s operations and plaintiffs Q,%U;b

application for insurance that plaintiff needed and expected workers compensation coverage for ., %W

the state of Georgr'a.

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26. Bridgefield insurance and their auditcr_. Suron'u`t Consulting, lnc.1 adjusted the
original premium charged to lndusn'ial Boiler based upon this audit dated April 25, 2007.

2? Bridget'ield lnsurance charged industrial Boiler an additional 3465.43 in workers
compensation premium for the Seoond Quarter ot"'?.OCG ending Juljv 3 l, 2006, due to the audit
Which revealed or should have revealed that ludustrial Boildcr’s r.\rnployees1 including out not
limited to, Marc Beolc Worlced in the state of Georgia_

28. Bridgei`reld lnsura‘oce charged lndustrial Boi.ler an additional § l 87.02 in workers
compensation premium for the 'Il'ri.rd Quartcrot"?@llo ending Oclobcr 31, 2006, due to tire audit
Whiclt revealed or should have revealed that In dustrial Boilder"’s employees, irlclndiz:\,f,;7 but not
limited to, Marc Becl: worked in the state of Georgia. '

29. Bridgeficld lnsurancc charged lndustrial Boiler an additional 5156.33 in vvorlcers
compensation premium for the l-`ourth Quarter of 2006 ending January 31, 2006, due to the audit
Which revealed or should have revealed tl:rat ludusm'al Boiider's employees, including but not
limited to, Marc Becl< Worlted in the state of Georgia.

30. Bridget`reld lnsurance charged ladusrrial Boiler an additional 551,869.17 in
workers compensation premium for the First Quarter onOO? ending April 30, 2007, due to tile
audit which revealed or should have revealed that Indusn‘ial Boilder’s employeesJ including but
not limited to, Marc Becl< Worlced in the state of Georgia.

3 l. A:’ter tire first workers compensation policy expired and based upon the
application for workers compensation insurance filed by lndustrial Boiler, defendant Brocl<
lnsurance procured a second workers compensation insurance policy for policy period 4/1/07 to

4/1/08 with defendant Bridge§eld insurance

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32. Bridgci`ield Insurance alleges that this second policy attained by Broclt insurance
t`or Indusrrial Bofler failed to provide workers compensation coverage for employees working in
the State ofGeorgia

33. Bric`lgefield lnsurance alleges that this second policy issued by Bridgeficld
Insurance failed lo provide workers compensation coverage i"or employees working in the State g
oi` Georgia.

34. On or about luna 5, 2008, Bridgel`ield insurance hired Surnmit Coosulting, lnc. to
perform a.n audit ofindusuial Boilcr’s payroll, employee classification and employee location in
order to adjust the insurance premium charged lay Bridgciield insurance to Induslriaj Boilcr.

35. Based upon this audit dated lone 5, 2008, Bridgefield Insurance charged

lndustrial Boilcr an additional $461.38 in workers compensation premium for the Seccnd

Quarier 052007, an additional 3503.’73 in workers compensation premium for the 'I`hird Quarter
of 2007, an additional 3197.04 in workers compensation premium for the Fourth Quarier of200’7
and an additional $4,291 .9il in workers compensation premiums for the ‘r`irst Quarter of2008.

36. 'l`hesc additional premium charges were due to the audit dated luna 5, 2008,
which revealed or should have revealed that Industrial Boiler‘s employees including but not
limited to, Marc Beck worked in the state of Georgia.

37. On or about laundry 14, 2008, Marc Beck was an employee for Industrial Boiler
and was assigned to work at a facility owned by a customer of Industrial Boiler in the S'Late of
Georgia.

38. On or about ianuarjir l4, 2003, Ma.rc Becl< was severely injured while working for

lndustrial Boiler in the stare of Georgia.

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39 li:clustriel Boilet' gave immediate notice to Eridgelielcl insurance of the injuries to
brian B::c}c and the possible claim to be filed by Marc Beclc_

f-’,O. Merc Beclc filed a workers compensation claim in the St~ate ol` Georg,ia in lune,
2003, owed upon the severe injuries he received on Janua:}' l4, 2003.

41. .ln inne, 2008, lndostrinl Boilcr asked BridgeEeld lnsurnnce to defend the workers
compensation claim filed by Marc Bcclc under tile workers compensation policy issued by
Bridgefield lnsnrance.

42. Defcnclant Brid_e,et_teld Insurencc has denied coverage and refused to defend
Industriel Boiler from the workers compensation claim filed by Marc Beci: in the State of
Georgia.

COUNT l: Declaroton' lude;ment

43. I-*orsuant to T.C.A. § 29-]4-101, el seq. plaintiff asks this Court for a judgment
declaring the contractual obligations of Bridgeficld Insurar.ce and the contractual rights of the
plaintiff as a ienncssce corporation Whic`n purchased a Bridgetield insurance policy in
Tennessee_ n

44. `r"laintil`fs ask this Court to enter art Order declaring that the Worl<:ers compensation
policy issued by Bridgetielcl insurance covers Worl<ers compensation claims filed by lodustria.l
Boiler‘s employees in both 'l`er_nessee and Georgia, mcincling but not limited to the claim filed
by Marc Bcclc.

COUN"L`_?.: Breach of Contrect agentst Defendant Briclt'_efield lnsuran<_:e

45. Bridget'ield Insurance s`noold have provided a Workers compensation insurance

policy that included coverage for Georgia claims pursuant to plaintiffs application which

specifically indicated the need for workers compensation coverage in the state of Gcot‘gia.

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46. Bl"idgc't'icld Insurance effectively modified the workers compensation insurance
policy to include claims lilcd by industrial Eoiler employees in the state of Georgia when
Btidgcficld audited and investigated plaintist operations, determined that some of plaintist
employees worked in Georgie and then adjusted the premium charged to plaintiff t”or workers
compensation coverage

47. Bridgefield insurance breached the contract and insurance policy issued to
industrial §oiler when Bn'dgetielcl lnsurance refused to defend tire workers compensation claim
filed by Marc Beclc,

48. As a direct and proximate result of the breach of contract by Bridgetield
losurance_. Industrial Boiler has mcnire.d damages including but not limited to legal fees and
liability for workers compensation claims, including but not limited to tire claim filed by l\'larc
Beclc.

49. Bridgcdeld insurance has effectively waived and is estopped from claiming that
the policy issued to plaintiff does not cover workers compensation claims in Georgia, including
but not limited to the claim ofM'arc Beclc..

COLH\’T 3: Neizlinence of Dejendant Bi“idacl'ield lnsurence

5 D. Bridget'icld lnsurance owed a duty to plaintiff to respond to plaintith application
for insurance by providing a Worlcers compensation insurance policy t'nat covered workers
compensation claims filed in the state of Georgia.

51. When Bridgeticld Insurance issued a policy to plaintiff at tire beginning of a
policy tenno Bridgetield lawrence estimated the potential risk or exposure based upon
assumptions or estimates of plaintiffs operations, Worl< force, payroll employee classincation

and employee location

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52. Audits, like the one performed by Eridge'i`;cld lnsurancc on plaintift`, are an
industry practice designed to adjust insurance premiums at the end ot` a policy term based upon
changes or more accurate assessments ofplaintifi`s operations., worl< force, payroll employee
classiticarion and employee location

53. Bridgetield lnsurance owed a duty to plaintiff to not only adjust the premium to §
cover unexpected risks, but also to adjust the coverage if the audit revealed new employees,
different classifications or different employee locations

54. Bridgel`relc‘ Insurancc owed a duty to plaintiff to inform plaintiff if the audit dated
April 2.5, 2001 revealed that certain employees of plaintiff were not covered under insurance
policy issued to plaintiff

55. Bridgeiield lnsurance’s refusal to extend workers compensation coverage to
plaintiffs employees Worlo`ng in Georgia after reviewing die audit dated April 25, 20 07,
constitutes a breach of the duty owed to plaintile

56. Bridgei`ield Insurance’s failure to inform plaintitT?.hat the audit dated April 25,
2001 revealed that certain employees of plaintiff were not covered by die insurance policy in
issue constitutes a breach of the duty owed to plaintiff

5'/'. Bridgeiield lnsurance’s negligence in providing coverage to plaintiffs Georgia
employees or to inform plaintiff that said Georgia employees were not covered was the direct
and proximate cause oi` damages incurred by plainde

COUNT 4c Negligenqe of Det`endant Suminit Cogulting, Inc.

58. Plaintit`f Wos an intended beneficiary of the audit performed by Summit

Consulting, lnc.

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59. Su.mmit Consultlng, Inc. owed tr duty to plaintiff to respond to plaintiffs
application for insurance by providing er workers compensation insurance policy that covered
workers compensation claims filed in the state of Georgid.

60. Audits, like thc one performed by Sumrnit Consulting, lnc. on plaintiff are an
industry practice designed to adjust insurance premiums et the end of c policy tenn based upon
changes or inorc accurate assessments of plaintist operations, work force, payrolL employee

classification end employee locationl

61. Sumtnit Consulting, lnc. owed a duty to plaintiff to not only adjust the premium
to cover unexpected risks, but also to advise Bridgcfield insurance and plaintiff to adjust the
coverage if the audit revealed new cmployecs, different classincarions or different employee
locations

l 61 n Surnrnit Consuitr`ng, lnc. owed a duty to plaintiff to inform plaintiff if tire audit
revealed that certain employees of plaintiff Were not covered under the insurance policy issued to
plaintiff

63. Surnrrrit Consulting, lnc.’s failure to adjust die premium to include coverage for _
workers compensation coverage to plaintiffs employees working in Georgia after completing
the audit constitutes a breach of the duty owed to plaintiff

64 Summit Consulting, Inc.’s failure to inform plaintiff that the audit revealed that
certain employees of plaintiff were not covered by tire insurance policy constitutes a breach of
thc duty owed to plaintiff

65` Surnrnit Consulting, lnc.'s negligence in ibiling to inform plaintiff that said
Georgia employees were not covered was the direct end proximate cause of damages incurred by

plaintiff

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66. Summit Consulting, litc.‘s negligence in failing to adjust the premium to include
coverage for plaintiff s employees Worlcing in Gcorgia was the direct and proximate cause o:'
damages incurred by plaintiff

67. At all relevant t'irn_cs, Surnrnlt Consulting, lnc. was actirx.§_,r on behalf of and as the

agent for Briclget‘ieici insurance

63~ Bridgetield lnsurelice is liable for the negligence of Summit Consulting, lnc.
l QQ§ M 5: §egligepce of Det`endant §roclc insurance

69. Brock Insurancc owed a duty to plaintiff to provide the coverage that piain‘tift
asked for orally and in the application for insurancej including but riot limited to workers
compensation coverage for employees working in Gcorgia.

70. Brock insurance failure to procure a workers compensation insurance policyl that
would cover plaintirt" s employees who work in Georgia constituted a failure or breach of the
duty owed to plaintiff

71. Broclc lnsurauce failed to exercise reasonable care and diligence in continuing the .
insurance coverage

72. Brocl: insurance failed to inform plaintiff that it had failed to procure the workers
compensation coverage for Georgia claims as requested by plaintiff

73_\ lnsureuce coverage was available for Brocl< losurance to procure coverage for
pialmiff’s employees Worl<ing i.u Georgia_

’M. As a direct and proximate result of Broci< losurancc's failure to procure workers
compensation insurance coverage for plaintiff that covered Georgia employees, including but not
limited to Marc `B eck, plaintiff has incurred significant damages Specir‘icaliy, plaintiff may have

to pay claims by Marc Becl< and pay attomey’s fees to defend tire claim filed by Marc Bccic.

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75q As a direct and proximate result of Broclc lnsurance`s Failure to inform plaintiff
rhat Broci; lnsnran ce had failed to Procure Worlrers compensation coverage for employees
working in Georgia, plaintiff has incurred significant damages. Specir‘ically, plaintiff may have l
to pay claims by Marc Becl< and pay anomey’s fees to defend the claim filed by Marc Bcclc

COUM 6: Breaclg)f€onrrnct arrainstDefendant Broclc Insurance l

76. Pleinti£l` and Brock lnsn.rance had a valid end enforceable contrect_. express or
implied, that Brock Insurance Would procure workers compensation insurance for plaintil’f; and ,
plaintiff Would purchase said insurance thereby causing Broclc lnsorance to earn a commission

77. This contraci between Broclc Insurance and plaintiff required Erocl< lnsurance to
procure a workers compensation insurance policy for plaintiff :hnt covered both Tenner,see: end
Georgia claims for workers compensation

73. Brock In,sn.rance breached this contract by failing to procure a workers l
compensation insurance policy that effectively covered claims by plaintiffs employees for
workers compensation benefits in the state of Gcorgia_

79. As a direct end proximate result ofBrocl< Insurencels breach of contracr,
lodestrial Boilor has incurred damages including but riot limited to legal fees and liability for
workers compensation claims, including but not limited to the claim filed by Marc Beci<.

WI-II£REFORE, the plaintiff prays:

l. For a judgment declaring the contractual obligations of Bridgciield

insurance and the contractual rights of the plaintiff as Tenneseee resident

who purchased a Bridgefield insurance policy in Tenneesee.

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2_ For a judgment declaring that Eridget"ield lnscrance should provide
insurance coverage for workers compensation claims filed in Georgia
against Plaintiff, including but not limited to the claim filed by Marc Becl:i

3. Fot a judgment against Bridgefield insurance for breach of contract for
damages including but not limited to legal fees and liability for workers
compensation claimsz including but not limited to the claim filed by Marc
Ecck.

4_ For a judgment against Bridgetield insurance for negligence causing
plaintiff damages including but not limited to legal fees and liability for
workers compensation claims, including but not limited to the claim filed
by Marc B eck.

5 . `for a judgment against Broclt insurance for breach of connect for
damages including but not limited to legal fees and liability for workers
compensation clairns, including but not limited to the claim filed by Marc
Bccic.

6. For a judgment against Brock insurance for negligence causing plaintiff
damages including but not limited to legal fees and liability for workers
compensation claims, including but not limited to the claim filed by Maro
Beclc.

'i. For a judgment against Sunimit Consulting, lnc. for negligence causing
plaintiff damages including but not limited to legal fees end liability for
workers compensation claims, including but not limited to the claim filed

by Marc Bcclc

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S. l~"oi such other general relief to which the plaintiff may be entitled

Rcspcct‘fuily submitted

SAMPLES, JENNINGS, RAY & CLEM, PLLC'

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DIIJS

lN THE CHANCF_RY CGURT FOR HAMILTON COUNTY, TENNESSEE

INDUSTR§AL BOILER & MECHANICAL

CO., INC.
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V.

BRID GEFIELD C`ASUALTY INSURA.NCE
COMPANY, SUMMIT CONSULTING, INC_
and BROC_K INSURANCE AGENCY, LNC.

Defen dants.

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COS’I` BOND

 

We hereby acknowledge and bind myself for the prosecution 0[` this action and
payment of all non- discretionary costs in this Court, which may at any time be adjudged agaith
the Plaim'iff in the event the Fiaintiff shall not pay them

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SURETY:
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(I. Ch.ristopher Clcm) BPR Nu. 015?93
130 Jol'dan Driv:
Chat'tanooga, Temlessec 37421-6731
Telephone: 423/892~2 006

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